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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE

DLJ Mortgage Capital, Inc.                         CIVIL ACTION NO:1:22-cv-00376-NT

                Plaintiff                          MOTION TO EXTEND TIME TO
                                                   COMPLETE AND FLE SERVICE AS TO
                                                   DEFENDANT

                        vs.                        RE:
                                                   21 Bamford Hill Road, Fayette, ME 04349

Jason A. M. Holland                                Mortgage:
                                                   October 3, 2006
                Defendant                          Book 9102, Page 155


       NOW COMES the Plaintiff in this matter, DLJ Mortgage Capital, Inc., by and through the

undersigned counsel and hereby respectfully requests that an order be entered granting this Motion

to Extend deadline for forty-five (45) days to complete and file service as to Defendant, Jason A. M.

Holland. As grounds therefore, Plaintiff states as follows:

           1. Undersigned counsel for Plaintiff has attempted service of the summons and

               Complaint upon Defendant, Jason A. M. Holland, at 21 Bamford Hill Road, Fayette,

               ME 04349 on numerous occasions by process server, Kevin Surette, of We Serve

               Maine, on Monday, December 19, 2022; Tuesday, January 10, 2023; and Saturday,

               January 14, 2023.

           2. Kevin Surette of We Serve Maine performed surveillance of the subject property, 21

               Bamford Hill Road, Fayette, ME 04349, on Tuesday, January 10, 2023 from 6:00AM

               to 9:00AM and on Saturday, January 14, 2023 from 3:00PM to 6:00PM, in an attempt

               to serve the Defendant, Jason A. M. Holland.

           3. On Monday, December 19, 2023 at 2:00PM, Kevin Surette made his first attempt at

               service upon Defendant, Jason A. M. Holland at the subject property, which was
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         unsuccessful, and noted several vehicles on the premises with license plates, and five

         other vehicles on the property with no license plates, and a gun outside the front

         door of the property.

      4. On Tuesday, January 10, 2023, Kevin Surette surveilled the subject property, between

         the hours of 6:00AM and 9:00AM, and stated there were three vehicles on the

         premises with no active registration and that the subject residence has an attached

         two-car garage, and both garage doors were open halfway and broken, and that car

         parts, and half-finished ATVs could be seen in the left garage bay.

      5. On Saturday, January 14, 2023, Kevin Surette surveilled the subject property,

         between the hours of 3:00PM and 6:00PM, and he stated there were four vehicles on

         the premises with no snow on them and believed to not have current registration

         (but after a LexisNexis RISK/Accurint Vehicle Investigation search appear to be

         registered or at one time registered to Melissa A. Holland (daughter) of 21 Bamford

         Hill Road, Fayette, ME; Brent G. Holland (son) of 21 Bamford Hill Road, Fayette,

         ME; Nicholas A. Vanblarcom (LexisNexis RISK/Accurint indicates he is an

         “associate” of the Defendant) of 75 Chesterville Ridge Road, Fayette, ME, and

         Curtis B. Brown, III of 8 Woodsdale Drive, Jay, ME 04239)and further, that he

         performed a door knock to which no one answered; conducted a canvas of the area,

         and spoke to a neighbor at 27 Bamford Hill Road, Fayette, ME who stated to check

         the Franklin County Jail and refused to continue the conversation.

      6. A search of the State of Maine Department of Corrections Adult Resident/Adult

         Community Client Search was performed using the Defendant’s name and said

         search did not yield any results.

      7. Additional investigation and research via LexisNexis Accurint/RISK and Whitepages

         indicates that the Defendant does likely lives at the subject property with his wife,
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                Lorna Mackenzie Holland a/k/a Lorna Mackenzie Pettitt, daughter, Melissa A.

                Holland and son, Brent G. Holland, and that his mother, Darlene Ames, also lives in

                Fayette, ME.

            8. The undersigned has located telephone numbers and possible email addresses for the

                Defendant, Jason A. M. Holland, his wife, Lorna Mackenzie Holland a/k/a Lorna

                Mackenzie Pettitt and relatives of the Defendant and has attempted to contact the

                Defendant to accept service.

            9. The office of the undersigned has also sent a copy of the summons and Complaint

                via UPS to the Defendant at the subject property address with an acceptance of

                service and return UPS envelope.

            10. At this time, it does appear that the Defendant has attempted to evade service to

                date, but undersigned counsel for Plaintiff will continue its efforts to serve the

                Defendant, Jason A. M. Holland, and will file a Motion to Serve by alternative means

                if not successful on or before April 1, 2023.

            11. Upon information and belief, based on the foregoing, Jason Holland resides in the

                subject premises and is evading service of process.

        WHEREFORE, based on the foregoing, Plaintiff is requesting that this Honorable Court

grant an additional forty-five (45) days to complete and file service as to Defendant, Jason A. M.

Holland, or in the alternative, file a Motion for Alternate Service.


                                                        Respectfully Submitted,
                                                        DLJ Mortgage Capital, Inc.,
                                                        By its attorneys,

Dated: March 21, 2023
                                                        /s/Reneau J. Longoria, Esq.
                                                        Reneau J. Longoria, Esq. Bar No. 005746
                                                        Attorney for Plaintiff
                                                        Doonan, Graves & Longoria, LLC
                                                        100 Cummings Center, Suite 303C
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                                                       Beverly, MA 01915
                                                       (978) 921-2670
                                                       RJL@dgandl.com

                                  CERTIFICATE OF SERVICE

       I, Reneau J. Longoria, Esq. hereby certify that on this 21 st day of March 2023, I served a
copy of the above document by electronic notification using the CM/ECF system and/or First
Class Mail to the following:

                                                       /s/Reneau J. Longoria, Esq.
                                                       Reneau J. Longoria, Esq. Bar No. 005746
                                                       Attorney for Plaintiff
                                                       Doonan, Graves & Longoria, LLC
                                                       100 Cummings Center, Suite 303C
                                                       Beverly, MA 01915
                                                       (978) 921-2670
                                                       RJL@dgandl.com


Jason A. M. Holland
21 Bamford Hill Road
Fayette, ME 04349
